
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 97-1845


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   WAYNE O. SOWERS,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                         and Shadur,* Senior District Judge.
                                      _____________________

                              _________________________

               William Maselli for appellant.
               _______________
               Margaret  D.  McGaughey, Assistant  United  States Attorney,
               _______________________
          with whom Jay P. McCloskey,  United States Attorney, and Jonathan
                    ________________                               ________
          A.  Toof, Assistant United  States Attorney,  were on  brief, for
          ________
          appellee.

                              _________________________


                                   February 6, 1998
                              _________________________

          __________
          *Of the Northern District of Illinois, sitting by designation.















                    SELYA,  Circuit Judge.    Defendant-appellant Wayne  O.
                    SELYA,  Circuit Judge.
                            _____________

          Sowers challenges his  conviction for possession of  cocaine with

          intent  to distribute, see 21  U.S.C.   841(a)(1), (b)(1)(B), and
                                 ___

          (b)(1)(C) (1994),  by resurrecting  some   but  not all    of the

          arguments  advanced  in  his  unsuccessful  motion   to  suppress

          evidence.1  In service of this end, the appellant argues that the

          trial court erred in concluding that neither the detention of the

          appellant and of a passenger  in the vehicle that he was  driving

          nor a warrantless  search of the appellant's jacket,  worn by the

          passenger,   produced   a   cognizable   constitutional   insult.

          Concluding, as we do, that the district court properly denied the

          appellant's  pretrial suppression motion,  we affirm the judgment

          of conviction.

          I.  BACKGROUND
          I.  BACKGROUND

                    On  September 21,  1996, at  approximately  10:00 p.m.,

          Maine State Trooper Kevin Curran was traveling northbound along a

          desolate stretch of the Maine  Turnpike.  While passing a Toyota,

          he noticed  a loud  noise  emanating from  the vehicle's  exhaust

          system.   His  interest piqued,  Curran also  observed a  missing

          front license plate.  He  slowed and activated his cruiser's blue

          flashing lights.  The Toyota stopped in the breakdown lane.

                    Curran approached the  vehicle from the rear  and asked

          the operator  (Sowers) for his  papers.  Sowers produced  a valid

          license, along with  a registration listing  Tammy Gayton as  the
                              
          ____________________

               1To  the extent  that  arguments  made  at  the  suppression
          hearing are not renewed on appeal,  we deem them abandoned.   See
                                                                        ___
          United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990).
          _____________    _______

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          Toyota's owner.  When Curran asked the young woman seated next to

          Sowers to produce some form of identification, she responded that

          she was  Tammy Gayton, but  acknowledged that she had  nothing on

          her person to  confirm that fact.   Unsure as to  the passenger's

          true identity,  Curran instructed  her to  exit  the vehicle  and

          instructed Sowers to remain seated.  Both complied.

                    After physically separating  the two occupants, Trooper

          Curran noticed  that they  both appeared  extremely nervous.   He

          thus  questioned each  of them  as  to the  extent, purpose,  and

          details  of  their  travels.     When  substantial  discrepancies

          developed, his suspicions heightened.

                    Curran  asked the woman to  remain standing next to his

          police cruiser  while he  initiated a  cursory background  check,

          endeavored to verify her identity, and prepared citations for the

          defective muffler, see  Me. Rev. Stat. Ann. tit.  29-A   1912(1),
                             ___

          (4) (West 1993), and the missing license  plate, see id.   452(a)
                                                           ___ ___

          (West  1987).    The  background  check  revealed  that  Sowers's

          driver's  license  was  valid  and  that  the  Toyota  was   duly

          registered  to Gayton.   Curran  also obtained  a rough  physical

          profile  of Gayton, which seemed  to match the  woman whom he had

          detained.

                    Despite  receipt of  this information,  Curran remained

          dissatisfied with the conflicting answers that he had received in

          response to his  earlier questioning.  He apprised  Gayton of his

          lingering suspicions and sought permission to search her vehicle.

          Gayton initially refused  to consent to a  search, but eventually


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          relented  after  Curran  informed  her that  he  would  summon  a

          narcotics dog  to  perform  a  sniff-search.   After  giving  her

          written  consent to the  vehicle search, Gayton's  anxiety became

          more pronounced.

                    Before attempting to search the vehicle, Curran radioed

          for assistance.  While  awaiting backup, Curran performed  a pat-

          down search of Gayton's person.  In the course of that search, he

          felt  a hard,  cylindrical  object through  the  material of  the

          jacket she  was wearing.   Curran queried Gayton about  the item,

          but she disclaimed any knowledge, stating that neither the jacket

          nor its contents belonged to her.  Curran removed the object from

          the jacket  pocket.   It  proved to  be  a package  containing  a

          substance  similar  in  appearance  and  consistency  to cocaine.

          Curran  promptly arrested  both Sowers  (age 42) and  Gayton (age

          18).

                    Trooper  Frank   Holcomb  arrived   on  the   scene  at

          approximately 10:40 p.m. and Curran then searched the Toyota.  He

          found no  contraband.   After  the troopers  transported the  two

          suspects to the Androscoggin County Jail, Sowers admitted that he

          had  traveled  to  Massachusetts and  bought  quantities  of both

          powdered and crack cocaine.

          II.  PROCEEDINGS BELOW
          II.  PROCEEDINGS BELOW

                    On October 10, 1996,  a federal grand jury returned  an

          indictment that charged  Sowers with possessing or  conspiring to

          possess  powdered and crack  cocaine, with intent  to distribute.

          The appellant  moved to suppress  the evidence seized  during and


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          after  the roadside  events.   He  argued, inter  alia, that  the
                                                     _____  ____

          protracted investigative stop constituted an unlawful  detention,

          and that  in all events the pat-down  search was unjustified.  He

          also sought to exclude the  incriminating statements made by  him

          while in  custody on  the ground that  those statements  were the

          fruits of an illegal detention.

                    Following  an evidentiary  hearing, the  district court

          denied the suppression motion.  See United States v. Sowers, 1997
                                          ___ _____________    ______

          WL 97104 (D.  Me. Feb. 21,  1997).  The  court ratified both  the

          stop and the ensuing roadside detention,  see id. at *4, and also
                                                    ___ ___

          determined  that Sowers lacked standing to challenge the pat-down

          search, see id. at *5.2
                  ___ ___

                    In  short order, a  jury found the  appellant guilty on

          two counts  of the  indictment.3   The  district court  sentenced

          Sowers to a 46-month term of imprisonment.  This appeal followed.

          III.  DISCUSSION
          III.  DISCUSSION

                    In addressing  orders granting or  denying suppression,

          we scrutinize the trial court's factual findings for clear  error

          and  subject its ultimate  constitutional conclusions  to plenary

                              
          ____________________

               2Although use  of the  term "standing"  in this context  may
          offend a legal purist, we have employed that word as "a shorthand
          method of referring  to the issue of whether  the defendant's own
          Fourth Amendment  interests  were implicated  by  the  challenged
          governmental action."   United States  v. Sanchez, 943  F.2d 110,
                                  _____________     _______
          113 n.1 (1st Cir. 1991); accord United States v. Kimball, 25 F.3d
                                   ______ _____________    _______
          1, 5 n.1 (1st  Cir. 1994); United States v. Gomez,  770 F.2d 251,
                                     _____________    _____
          253 n.1 (1st Cir. 1985);  United States v. Lochan, 674 F.2d  960,
                                    _____________    ______
          963 n.4 (1st Cir. 1982).  We follow that praxis here.

               3The  government  had  brought,  and  thereafter dropped,  a
          conspiracy count.

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          review.   See Ornelas  v. United  States, 116 S.  Ct. 1657,  1663
                    ___ _______     ______________

          (1996); United  States v. Schaefer, 87  F.3d 562, 565 &amp;  n.2 (1st
                  ______________    ________

          Cir. 1996); UnitedStates v.Zapata, 18F.3d 971, 975(1st Cir.1994).
                      ____________   ______

                                          A.
                                          A.
                                          __

                    We open  our discussion of the merits by addressing the

          appellant's  charge that the officer's detention of the motorists

          amounted  to a  de facto  arrest.   Sowers carefully  cabins this
                          __ _____

          argument.   He does not  contest Judge Carter's finding  that the

          initial stop,  for admitted equipment violations,  was justified.

          He argues instead  that the length and tenor of  the detention at

          some point transmogrified a lawful Terry stop, see Terry v. Ohio,
                                             _____       ___ _____    ____

          392 U.S. 1 (1968), into an unlawful de facto arrest.  Once Sowers
                                              __ _____

          produced a valid  driver's license and registration,  this thesis

          runs,  Curran  no  longer  had  any valid  basis  to  detain  the

          motorists  and  all  the  events  that  transpired  thereafter   

          Gayton's  removal from the vehicle, the subsequent questioning of

          both  individuals,  the  pat-down  search,  the  seizure  of  the

          contents of the jacket's pockets, the arrest, and the post-arrest

          interrogation   were beyond the pale.

                    The government says that Sowers lacks standing to voice

          much  of this  plaint.    A defendant  ordinarily  cannot base  a

          constitutional claim on a violation  of a third person's  rights.

          See Rakas v. Illinois, 439 U.S. 128, 138-40 (1978); United States
          ___ _____    ________                               _____________

          v.  Kimball, 25  F.3d  1, 5  (1st Cir.  1994);  United States  v.
              _______                                     _____________

          Santana, 6 F.3d 1, 8-9 (1st Cir. 1993).  Therefore, to the extent
          _______

          that Sowers's challenge  rests on Gayton's privacy  interests, it


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          is barred.

                    Nonetheless, there  is more to Sowers's  challenge than

          meets the  prosecution's eye.  Once the  police halt a vehicle on

          the  highway,  both  the  driver  and the  passengers  are  in  a

          practical sense subject to the officers' authority.  See Whren v.
                                                               ___ _____

          United States, 116 S. Ct.  1769, 1772 (1996) (explaining that all
          _____________

          occupants of  a vehicle  are subjected to  a seizure,  within the

          scope of the  fourth amendment, when a police  officer effects an

          investigatory  stop of the vehicle).   Thus, any  one of them may

          challenge  his own  detention regardless  of whether  he was  the

          immediate target of the investigation or whether he had a privacy

          interest in the vehicle itself.  See Kimball, 25 F.3d at 5.  This
                                           ___ _______

          means that  the  appellant's challenge  of his  own detention  is

          properly before us.

                    On this  issue, the  appellant acknowledges that  Terry
                                                                      _____

          sanctions a brief detention of  an individual to confirm or allay

          a police  officer's reasonable  suspicions.   392 U.S.  at 20-21.

          Still, he contends that Trooper Curran's persistence converted an

          initially lawful Terry stop into a de facto  arrest based on less
                           _____             __ _____

          than   probable  cause  (and,  hence,  unlawful).     This  is  a

          commonplace  argument, the evaluation of  which tends to be case-

          specific.   See Zapata, 18 F.3d  at 975 (observing that there are
                      ___ ______

          no precise  formulae that  enable courts  to distinguish  between

          investigatory stops and de facto arrests).
                                  __ _____

                    The  effort to locate  a particular sequence  of events

          along the continuum of detentions  begins with a determination as


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          to whether the officer's actions were justified at the inception.

          See Terry, 392 U.S. at 19-20;  United States v. McCarthy, 77 F.3d
          ___ _____                      _____________    ________

          522, 530 (1st  Cir. 1996).   In this case,  the propriety of  the

          initial Terry stop cannot be gainsaid.   The appellant's argument
                  _____

          hinges,  therefore,  on  whether the  actions  undertaken  by the

          officer  following the  stop were  reasonably  responsive to  the

          circumstances   justifying  the  stop  in  the  first  place,  as

          augmented by information gleaned by  the officer during the stop.

          See United  States v.  Sharpe, 470 U.S.  675, 682  (1984); United
          ___ ______________     ______                              ______

          States v. Stanley,  915 F.2d 54, 55  (1st Cir. 1990).   To answer
          ______    _______

          this query, an inquiring court  must consider the totality of the

          circumstances  and "balance[]  the  nature  and  quality  of  the

          intrusion  on personal  security against  the  importance of  the

          governmental interests alleged to justify the intrusion."  United
                                                                     ______

          States v. Hensley, 469 U.S. 221, 228 (1985).
          ______    _______

                    On this question, the  district court supportably found

          that Curran's level of warranted suspicion gradually escalated as

          his  encounter with  Sowers  and  Gayton  progressed.   Based  on

          unfolding  events,  the  trooper's  attention  (and,   thus,  his

          reasonable suspicions) shifted away from the equipment violations

          that prompted the initial stop toward a belief that the detainees

          were engaged in more serious skulduggery.  Such a  shift in focus

          is neither unusual nor impermissible.  See, e.g., Zapata, 18 F.3d
                                                 ___  ____  ______

          at 974.  In  his testimony   which the lower  court credited, see
                                                                        ___

          Sowers, 1997 WL 97104, at  *4   Curran recited the particularized
          ______

          bases for his dawning belief  that Sowers and Gayton were engaged


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          in criminal  misconduct.   He pointed,  for example,  to Gayton's

          inability  to   confirm  her   identity,  the   pair's  excessive

          nervousness, and the conflicting stories  that they told.  We are

          not  at liberty  blithely to  second-guess  the district  court's

          credibility   determinations.    See  Zapata,  18  F.3d  at  975.
                                           ___  ______

          Consequently  we cannot  say, in  light of  what the  lower court

          found to be the circumstances obtaining on the night in question,

          that the officer's  continued pursuit of his  mounting suspicions

          was unreasonable.  See  Davis v. United States 409  F.2d 458, 460
                             ___  _____    _____________

          (D.C. Cir. 1969) (remarking that "conduct innocent in the eyes of

          the  untrained may  carry entirely  different  `messages' to  the

          experienced or trained  observer"); see also Stanley, 915 F.2d at
                                              ___ ____ _______

          56.

                    By the  same token,  we are not  inclined to  hold that

          Trooper Curran,  in acting  on these  suspicions, perpetrated  an

          impermissible de facto arrest.  In assaying such a claim, a court
                        __ _____

          must weigh, among other factors, the length of the detention, the

          restrictions  placed  on an  individual's personal  movement, the

          force (if any) that was  exerted, the information conveyed to the

          detainee, and  the severity of  the intrusion.  See  McCarthy, 77
                                                          ___  ________

          F.3d at 530.  Here, no force   or show of force   occurred.4  The

          restriction  on  Sowers's  freedom  of  movement     namely,  the

                              
          ____________________

               4The  appellant suggests that  Curran's mention of  a canine
          sniff-search amounted to a threat, and thus was  a show of force.
          This   argument   never  takes   wing,   however,   because  that
          conversation took  place with  Gayton, out  of Sowers's  earshot.
          Absent any communication, the "threat" could not have constituted
          a show of force as to Sowers.
                          __ __ ______

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          trooper's instruction  that he  remain in the  vehicle    was not

          onerous.   See, e.g.,  Maryland v.  Wilson, 117  S. Ct.  882, 886
                     ___  ____   ________     ______

          (1997);  Pennsylvania v.  Mimms, 434  U.S. 106,  111  (1977) (per
                   ____________     _____

          curiam).

                    To  sum  up,  the  Supreme  Court  has  cautioned  that

          reasonable suspicion,  like probable  cause, is  not amenable  to

          technical formulations that purport to identify the precise types

          of conduct or sets of circumstances that will  or will not permit

          a  police officer to stop and detain an individual.  See Ornelas,
                                                               ___ _______

          116 S. Ct.  at 1661.  To  the contrary, the Justices  have looked

          favorably upon a practical, commonsense approach to the  issue of

          reasonable suspicion.  See id.  Viewing the facts of this case in
                                 ___ ___

          a down-to-earth manner, we conclude  that the district court  did

          not err  in finding  that Curran  had  adequate justification  to

          prolong the  stop beyond the  point at which Sowers  produced his

          papers and thereafter beyond the point at which Gayton's identity

          was nominally corroborated.   See, e.g., United  States v. Young,
                                        ___  ____  ______________    _____

          105  F.3d 1, 6 (1st  Cir. 1997); McCarthy, 77  F.3d at 530.  Even
                                           ________

          though at  least thirty minutes  elapsed between the time  of the

          stop  and the discovery of what appeared to be contraband, we see

          no basis for  disrupting the district court's  founded conclusion

          that no de facto arrest transpired.  See United  States v. Quinn,
                  __ _____                     ___ ______________    _____

          815 F.2d  153, 157 (1st Cir.  1987) (remarking that  "there is no

          talismanic time beyond which any stop  initially justified on the

          basis of Terry  becomes an unreasonable seizure under  the fourth
                   _____

          amendment") (quoting United  States v. Davies, 768  F.2d 893, 901
                               ______________    ______


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          (7th Cir. 1985)); see also  McCarthy, 77 F.3d at 530 (chronicling
                            ___ ____  ________

          cases in  which detentions of  much longer  duration than  thirty

          minutes have been approved).  Put another way, the court  was not

          bound  to  hold  that  the  relatively  short-lived and,  by  all

          indicators,  non-confrontational  detention   that  preceded  the

          officer's discovery  of the apparent  contraband constituted  the

          functional equivalent of a formal arrest.

                                          B.
                                          B.
                                          __

                    The appellant  also challenges  the pat-down  search of

          Gayton, and in  particular, the search of a jacket  that he owned

          which  Gayton  was wearing  at  the  time.   The  district  court

          rejected this  challenge.  Relying  on Frazier v. Cupp,  394 U.S.
                                                 _______    ____

          731 (1969), and United States v. Alewelt, 532 F.2d 1165 (7th Cir.
                          _____________    _______

          1976), it  concluded that the appellant, "upon lending his jacket

          to Gayton, relinquished control over the jacket and forfeited the

          reasonable expectation of privacy he had in the jacket."  Sowers,
                                                                    ______

          1997 WL 97104,  at *5.   Mindful that we are  not chained to  the

          lower court's rationale but may affirm on any alternative  ground

          supported by the record, see Hachikian v. FDIC,  96 F.3d 502, 504
                                   ___ _________    ____

          (1st Cir. 1996),  we choose to follow a  different analytic path.

          Consequently,  we   take  no   view  of   the  district   court's

          determination  that  Sowers,  having lent  his  jacket,  could no

          longer  claim a reasonable  expectation of privacy  vis- -vis the

          contents of its pockets.

                    The  fundamental  flaw in  the appellant's  argument is

          that it misapprehends  the character of a  Terry stop.   The pat-
                                                     _____


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          down search that a Terry stop entails is a search of  the person.
                             _____

          See  Terry, 392 U.S. at 24-25  (describing the permitted pat-down
          ___  _____

          search as  "a limited search  of the outer clothing  for weapons"

          and recognizing that such a search "constitutes  a severe, though

          brief, intrusion upon  cherished personal security"); see  also 4
                                                                ___  ____

          Wayne R. Lafave, Search  and Seizure   9.5(b) (3d ed.  1996).  To
                           ___________________

          say that such a search involves a separate and distinct search of

          the detainee's clothing distorts the  Terry principle.  Thus, the
                                                _____

          appellant, who was not himself subjected to the pat-down  search,

          cannot bottom his Fourth Amendment challenge on that search.  See
                                                                        ___

          Kimball, 25 F.3d at 5 (holding  that "a proponent of a motion  to
          _______

          suppress  must  prove  that  the  challenged governmental  action

          infringed upon his own Fourth Amendment rights").  So viewed, any

          possessory  interest that  Sowers retained  in  the jacket  which

          Gayton was wearing during the search is an irrelevancy.

          IV.  CONCLUSION
          IV.  CONCLUSION

                    We need  go no further.   Having combed the  record, we

          are  fully persuaded  that  the  district court  did  not err  in

          denying Sowers's motion to suppress.   The judgment of conviction

          must therefore be



          Affirmed.
          Affirmed.
          ________










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